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 5

 6                                 UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                         Plaintiff,                 )
                                                      )
10          v.                                        ) 2:08-CR-311-RLH-(GWF)
                                                      )
11 HAGOB PALIKYAN,                                    )
                                                      )
12                         Defendant.                 )
                                                      )
13

14                      SECOND AMENDED FINAL ORDER OF FORFEITURE

15           On March 3, 2011, the United States District Court for the District of Nevada entered a

16 Preliminary Order of Forfeiture pursuant to Fed. R. Crim. P. 32.2(b)(1) and (2); Title 18, United States

17 Code, Section 981(a)(1)(C) and Title 28, United States Code, 2461(c); and Title 21, United States

18 Code, Section 853(p) based upon the plea of guilty by defendant HAGOB PALIKYAN to criminal

19 offenses, forfeiting specific property alleged in the Second Superseding Criminal Indictment and

20 agreed to in the Plea Memorandum and shown by the United States to have a requisite nexus to the

21 offense to which defendant HAGOB PALIKYAN pled guilty. Second Superseding Criminal

22 Indictment, ECF No. 103; Change of Plea Minutes, ECF No. 286; Preliminary Order of Forfeiture,

23 ECF No. 288; Plea Memorandum, ECF No. 289; Amended Final Order of Forfeiture, ECF No. 350.

24           This Court finds the United States of America published the notice of forfeiture in accordance

25 with the law via the official government internet forfeiture site, www.forfeiture.gov, consecutively

26 from March 8, 2011, through April 6, 2011, further notifying all known third parties by personal
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 1 service or by regular mail and certified mail return receipt requested, of their right to petition the

 2 Court. Notice of Filing Proof of Publication, ECF No. 306; Notice of Filing Service of Process, ECF

 3 No. 365.

 4            After a preliminary order of forfeiture was executed by the Court, pertaining to all the seized

 5 items, the United States notified all known and interested parties of the United States’ interest in

 6 forfeited items, including the 2008 black Mercedes-Benz wagon, identified as Item No. “aan” below.

 7 Thereafter, Victoria Berberian made her interest in the car known and on June 10, 2011, the United

 8 States and Victoria Berberian entered into a Stipulation pertaining to the disposition of the Mercedes-

 9 Benz vehicle that was filed with this Court on June 10, 2011. Sentencing Minutes, ECF No. 327.

10 Order Granting Stipulation for Return of Property, ECF No. 330.

11            On October 31, 2012, Jon Cestia, Vice President of BMW Financial Services N.A., LLC, was

12 served by certified mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing
13 Service of Process, ECF No. 365, p. 2 and 5-57.

14            On October 31, 2012, Ms. Lisa McKinnon, BMW Financial Services N.A., LLC, was served

15 by certified mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of

16 Process, ECF No. 365, p. 3 and 5-57.

17            On October 31, 2012, Legal Team, BMW Financial Services N.A., LLC, was served by

18 certified mail with the Preliminary Orders of Forfeiture and the Notice. Notice of Filing Service of

19 Process, ECF No. 365, p. 4-57.

20            On January 17, 2013, BMW Financial Services NA, LLC filed a motion as to Gary

21 Ambartsumyan, a Petition for Declaration of Interest in Seized and Forfeited Property, in regards to a

22 2008 white BMW M5, VIN WBSNB93548CX09044. Sealed Motion, ECF No. 362.

23            On April 30, 2013, the United States filed a proposed Settlement Agreement, Stipulation for

24 Entry of Order of Forfeiture as to BMW Financial Services NA, LLC, and Order. Stipulation, ECF No.

25 366.

26 . . .

                                                        2
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 1           On May 1, 2013, the Court entered an Order granting the Settlement Agreement as to BMW

 2 Financial Services NA, LLC. Order on Stipulation, ECF No. 368.

 3           This Court finds no other petition was filed herein by or on behalf of any person or entity and

 4 the time for filing such petitions and claims has expired.

 5           This Court finds no petitions are pending with regard to the assets named herein and the time

 6 for presenting such petitions has expired.

 7           THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that all right,

 8 title, and interest in the property hereinafter described is condemned, forfeited, and vested in the

 9 United States of America pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and (B); Fed. R. Crim. P.

10 32.2(c)(2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code,

11 2461(c); Title 18, United States Code, Section 1028A(a)(1) and (c)(4); and Title 21, United States

12 Code, Section 853(n)(7) and (p) and shall be disposed of according to law:
13                 a.      Sony Brown 42" Lcd Tv, S/N 1050106;
14
                   b.      Sony Brown 42" Lcd Tv, S/N 1002050;
15
                   c.      Dell Model 1320 Laser Printer, S/N 35rphf1;
16
                   d.      Dell Model 1850 Laser Printer, S/N H1c34091;
17

18                 e.      Acer Laptop, S/N Lxal70x043820001ef2513;

19                 f.      Dell Xps Laptop, S/N 5vg3kd1;

20                 g.      Apple Mac Laptop, S/N W8807f5dop1;
21                 h.      Hp Laptop, S/N 2ce7222m6q;
22
                   i.      Mac Book Air, S/N W8813ppuy51;
23
                   j.      Miscellaneous Cards, Cables, Remotes, Controllers, Stands;
24
                   k.      3.5 X Drive, Extend Harddrive, S/N 020851;
25

26                 l.      Apple Tv, S/N 6f8182w04cp;

                                                       3
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             m.    Wd External Hard Drive, S/N Wxh207674808;
 1
             n.    Msr 206 Encoder, S/N A015401;
 2

 3           o.    Psp Portable, S/N Pp865026504-Psp1001;

 4           p.    Psp Portable, S/N At045924040-Psp2001;
 5           q.    Ipod Touch 16 Bg, S/N 1c80167a/4p;
 6
             r.    Iphone, S/N 5k81880jwh8;
 7
             s.    Iphone, S/N Bcga1241;
 8
             t.    Iphone, S/N 5k80247kwh8;
 9

10           u.    Iphone, S/N 579ca1241;

11           v.    Sandisk 2 Gb Flashdrive, S/N 2048rb;

12           w.    Sandisk 4 Gb Flashdrive, S/N 4096rb;
13           x.    Sandisk 1 Gb Flashdrive, S/N 1024rb;
14
             y.    Pny Attache 1 Gb Flashdrive, No S/N;
15
             z.    Logitech Mx Revolution Thumbdrive, S/N 810-000412;
16
             aa.   Iron Key Thumbdrive, S/N 0140485;
17

18           ab.   Iron Key Thumbdrive, S/N 0140551;

19           ac.   Dell Xps Tower, S/N 30gzcg1;

20           ad.   Playstation 3, S/N Ce124062502-Cecha01;
21
             ae.   Playstation 3, S/N Ce514635354-Cechg01;
22
             af.   Xbox 360, S/N 311730682105;
23
             ag.   Xbox 360, No S/N;
24
             ah.   1 - Xbox 360 Video Game;
25

26           ai.   11 - Playstation 3 Video Games;

                                              4
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             aj.   6 - Psp Games In Case;
 1
             ak.   35 - Blue Ray Movies;
 2

 3           al.   Wtj-90a Tipper;

 4           am.   $3,000 Cash (From Gary Ambartsumyan’s room);
 5           an.   $4900 Cash (From Artur Ambartsumyan’s room);
 6
             ao.   $14,802.63 in Money Gram Money Orders;
 7
             ap.   Mens’ Breitling Bentley Watch, S/N A25362; and
 8
             aq.   Mens’ Breitling Bentley Watch;
 9

10           ar    counterfeit access device containing unauthorized account information for Visa

11                 debit card account in the name of M.V., account number ending in X-4923;

12           as.   counterfeit access device containing unauthorized account information for Visa
13                 debit card account in the name of G.V., account ending in X-2319;
14
             at.   counterfeit access device containing unauthorized account information for Visa
15
                   debit card account in the name of C.D., account ending in X-1918;
16
             au.   counterfeit access device containing unauthorized account information for a
17

18                 Bank of America Visa debit card account, account ending in X-7119;

19           av.   counterfeit access device containing unauthorized account information for Bank

20                 of America Visa debit card account in the name of J.R., account ending in X-
21
                   4609;
22
             aw.   counterfeit access device containing unauthorized account information for a
23
                   Bank of America Visa debit card account in the name of B.J., account ending
24
                   in X-1577;
25

26

                                               5
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             ax.    counterfeit access device containing unauthorized account information for a
 1
                    Bank of America Visa debit card account, account ending in X-8491;
 2

 3           ay.    counterfeit access device containing unauthorized account information for Bank

 4                  of America Visa debit card account, account ending in X-6657;
 5           az     counterfeit access device containing unauthorized account information for Bank
 6
                    of America Visa debit card account, account ending in X-9612;
 7
             aaa.   counterfeit access device containing unauthorized account information for Bank
 8
                    of America Visa debit card account in the name of G.S., account ending in X-
 9

10                  2034;

11           aab.   counterfeit access device containing unauthorized account information for Bank

12                  of America Visa debit card account in the name of C.S., account ending in X-
13                  3846;
14
             aac.   counterfeit access device containing unauthorized account information for Bank
15
                    of America Visa debit card account in the name of S.K., account ending in X-
16
                    5010;
17

18           aad.   counterfeit access device containing unauthorized account information for Bank

19                  of America Visa debit card account in the name of E.H., account ending in X-

20                  4275;
21
             aae.   counterfeit access device containing unauthorized account information for Bank
22
                    of America Visa debit card account in the name of B.W., account ending in X-
23
                    7341;
24
             aaf.   counterfeit access device containing unauthorized account information for Bank
25

26                  of America Visa debit card account, account ending in X-3019;

                                                6
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                    aag.    counterfeit access device containing unauthorized account information for Bank
 1
                            of America Visa debit card account in the name of D.R., account ending in X-
 2

 3                          4018;

 4                  aah.    counterfeit access device containing unauthorized account information for Bank
 5                          of America Visa debit card account, account ending in X-7017;
 6
                    aai.    counterfeit access device containing unauthorized account information for Bank
 7
                            of America Visa debit card account, account ending in X-6691;
 8
                    aaj.    counterfeit access device containing unauthorized account information for
 9

10                          Wells Fargo debit card account, number ending in X-4424;

11                  aak.    counterfeit access device containing unauthorized account information for a

12                          Wells Fargo debit card account, account number ending in X-7930;
13                  aal.    counterfeit access device containing unauthorized account information for a
14
                            Wells Fargo debit card account, number ending in X-6110;
15
                    aam.    2008 White BMW M5, VIN WBSNB93548CX09044;
16
                    aan.    2008 Black Mercedes Benz G-500 Wagon, VIN WDCYR49E38X171546;
17

18                  aao.    2006 Black Quad Cab Dodge Dakota Truck, VIN 1D7HA18286J185015; and

19                  aap.    an in personam criminal forfeiture money judgment of $663,089.35 in United

20                          States Currency (“the property”).
21

22
            IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that any and all forfeited funds,
23
     including but not limited to, currency, currency equivalents, certificates of deposit, as well as any
24
     income derived as a result of the United States of America’s management of any property forfeited
25

26 herein, and the proceeds from the sale of any forfeited property shall be disposed of according to law.

                                                         7
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 1          The Clerk is hereby directed to send copies of this Order to all counsel of record and three

 2 certified copies to the United States Attorney’s Office.
                        16th
                                   May
 3          DATED this _ day of _______ 2013.

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 6
                                                  UNITED STATES DISTRICT JUDGE
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                                                                      ofof
                                                                         99




 1                                         PROOF OF SERVICE

 2         I, Ray Southwick, Forfeiture Support Associates Paralegal, certify that the following

 3 individuals were served with copies of the Second Amended Final Order of Forfeiture on May 15,

 4 2013, by the below identified method of service:

 5         CM/ECF:
 6
           Alex R. Kessel                                           Travis E. Shelter
 7         Law Offices of Alex R. Kessel                            Travis E. Shelter, P.C.
           16542 Ventura Blvd.                                      844 East Sahara Ave.
 8         Encino, CA 91436                                         Las Vegas, NV 89104
           kessellaw@sbcglobal.net                                  travisshelter@gmail.com
 9         Attorney for Arman Palikyan                              Attorney for Artur Ambartsumyan
10         Donald J. Green                                          Charles E. Kelly
           Law Offices of Donald J. Green                           Charles E. Kelly & Associates
11         4760 S. Pecos Rd. Ste. 103                               706 South Eighth
           Las Vegas, NV 89121                                      Las Vegas, NV 89101
12         crimelv7777@aol.com                                      ceklv@aol.com
           Attorney for Arman Palikyan                              Attorney for Iyad Nazzal
13
           Daniel J. Albregts                                       Gary L. Meyers
14         Daniel J. Albregts, Esq.                                 Law Office of Gary L. Meyers
           601 S. 10th St. Ste. 202                                 7251 W. Lake Mead Blvd. Ste. 300
15         Las Vegas, NV 89101                                      Las Vegas, NV 89128
           albregts@hotmail.com                                     gmyerslo@aol.com
16         Attorney for Armen Ambartsumyan                          Attorney for Danimyar Dosunkulov
17         David T. Brown                                           James E. Shively
           Brown, Brown & Premsrirut                                Poli & Ball, PLC
18         520 S. 4th St. 2nd Fl.                                   311 S. Rainbow Blvd., Ste. 215
           Las Vegas, NV 89101                                      Las Vegas, NV 89146
19         master@brownlawlv.com                                    shively@poliball.com
           Attorney for Gary Ambartsumyan                           Attorney for BMV Financial Services
20                                                                  Na, LLC
                                                                    Interested Party
21

22                                                        /s/ Ray Southwick
                                                          Ray Southwick
23                                                        Forfeiture Support Associates Paralegal
24

25

26

                                                      9
